                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

UNITED STATES OF AMERICA,

               Plaintiff,

       v.                                             Case No. 17-CR-113

TOMMIE COLE,

            Defendant.
______________________________________________________________________________

               DEFENDANT’S UNOPPOSED MOTION TO TRAVEL
______________________________________________________________________________

       NOW COMES the defendant, Tommie Cole, by and through his attorney, Jacob A.

Manian, and hereby requests permission to travel outside of the Eastern District of Wisconsin

based on the following:

       1. Mr. Cole’s daughter was accepted to Spelman College in Atlanta, Georgia.

       2. Mr. Cole wishes to travel with family to visit the college.

       3. Mr. Cole would be departing the Eastern District on April 26, 2019 and returning on

            April 31, 2019.

       4. Undersigned counsel has spoken with USPO and is authorized to state that Mr. Cole

            has not had pretrial violations other than what has already been reported to this Court.

       5. Counsel is authorized to inform this Court that the Government does not oppose this

            motion.

       WHEREFORE, for the foregoing reasons, it is respectfully requested that the defendant’s

unopposed motion to travel be granted.




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Dated this 5th day of April, 2019.

                                     Fox, O’Neill & Shannon, S.C.
                                     Attorneys for Defendant, Tommie Cole




                                     By: _______________________________
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